                                         U.S. PROBATION & PRETRIAL SERVICES
                                                      Middle District of Tennessee
                                                                  memorandum
Date:    January 25, 2024
From:    Kimberly Haney, Supervisory U.S. Probation Officer
Subject: Coleman Boyd
         Docket No.: 3:22CR00327-4
To:      Honorable Barbara D. Holmes
         U.S. Magistrate Judge
On October 5, 2022, the federal warrant for the defendant’s arrest was executed in the Southern
District of Mississippi pursuant to an Indictment charging the defendant with Conspiracy to
Obstruct Access to a Clinic Providing Reproductive Health Services and Violation of the FACE
Act filed in the Middle District of Tennessee on October 3, 2022. The defendant appeared
for an initial appearance in the Southern District of Mississippi on October 6, 2022, and
the defendant was released to pretrial supervision. On October 12, 2022, the defendant
appeared for an initial appearance before Your Honor in the Middle District of Tennessee. The
defendant was ordered to remain on the pretrial supervision with the previously imposed
conditions of release. The defendant resides in Mississippi, and courtesy supervision is provided
by the United States Probation Office in the Southern District of Mississippi. His case is
assigned to Latoya Judson, United States Probation Officer (USPO).

On December 21, 2022, Your Honor modified the defendant’s conditions to allow him to speak
with his family members or close friends; however, they are not allowed to discuss the case.

On December 28, 2023, a violation memorandum was submitted to the Court regarding the
defendant’s non-compliance involving the defendant sending a text message to his codefendants
including Caroline Davis, who is a witness in the case. Additionally, the defendant has produced
podcasts which included interviews with his codefendants and discussions regarding the arrest
of a codefendant and the case in general with another codefendant. The Court ordered the
modification of the defendant’s release conditions to include an additional condition: “The
defendant must avoid all contact, directly or indirectly, with any person who is or may become
a victim or witness in the investigation or prosecution of this case, including codefendants.”

On January 16, 2024, the Government notified Pretrial Services that the defendant sent another
text message to a group of people that included a witness, Caroline Davis. The text message
informed the recipients of the North Hinds Church annual fellowship weekend scheduled March
15-17, 2024, in Bolton, Mississippi. The message detained the itinerary for the weekend which
included topics on raising, feeding, incubating, purchasing, and slaughtering farm animals;
farming and fruit trees – chemical and organic; fishing – pond management, trot lining; hunting
– ammunition types/usages, gun types/usages, shot placement, long/short range uses;



Case 3:22-cr-00327        Document 514        Filed 01/30/24     Page 1 of 2 PageID #: 2640
construction; community building; survival technology; medical preparedness; tactical – militia
organization, group training, physical fitness, weaponry training; and food storage.

Pursuant to the most recent Court order, the defendant is in direct violation of his release
conditions. Pretrial Services respectfully requests that a hearing be scheduled so the defendant
can address the Court regarding his non-complaint behavior.

Approved:




Kimberly J. Haney
Supervisory U.S. Probation Officer




THE COURT ORDERS:

       No action at this time

       A Hearing on the Petition is set for


       _____________________               ___________
       Date                                Time

X      Other :
       Further action is reserved pending the outcome of the trial. Defendant is cautioned against any other prohibited contact.



_______________________________________
Honorable Barbara D. Holmes
U.S. Magistrate Judge




Case 3:22-cr-00327            Document 514           Filed 01/30/24          Page 2 of 2 PageID #: 2641
